Case 5:Oi-Cv-00372-VAP-I\/|LG Document 354 Filed 01/22/04 Page 1 of 25 Page |D #:145

  
  

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UNITED STATES DISTRICT COURT

9 CENTR.AL DISTRICT OF CALIFORNIA
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11 HORPHAG RESEARCH LTD , Case No EDCV 00-00372~VAP
(MLGX)
12 Plalntlff,
[Motion filed on November
13 v. 24, 2003.]

ORDER GRANTING PLAINTIFF' S
MOTION FOR SU'DMARY JUDGMEN'I’

14 LARRY GARCIA dba
Healthlerllfe.€om, MARIO
15 PELLEGRINI dba
Healthdlscover Com;

16 LARRY GARCIA d a
Healthlerllfe Com

17 [Counter»clalmant] v
HORPHAG RESEARCH LTD

18 [Counter»defendant] ,

TH|S CONST|TUTES NOT|CE OF ENTRY
AS REQU|RED B¥ FRCP, RULE 77(d).

\_/~J~_»-¢\_/~_/\_/\_/VV`_.¢V\_’VVV`_,V

 

19 Defendants

20

21

22 The Court has recelved and consldered all papers

23 flled ln support of, and rn opposltlon to, Plaintlff's
24 Motlon for Summary Judgment The Motlon ls approprlate
25 for resolution Wlthout oral argument. gee Fed R Clv
26 P. 78, Local Rule 7-15 For the reasons set forth below,
27 Plaintlff's Motlon ls GRANTED [){]CKETED ON CM

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Case 5:0

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0-cv-00372-VAP-|\/|LG Document 354 Filed 01/22/04 Page 2 of 25 Page |D #:146

I. BACKGROUND1 AND PROCEDURAL HISTORY

ln 1987, Plalntlff Horphag Research, Ltd ("Horphag")
began selllng bulk quantltles of plne bark extract under
the trademark “Pycnogenol“ to pharmaceutlcal companles
and dlstrlbutors 1n the Unlted States, whlch packaged the
product as pllls and sold them to the publlc Horphag
applled for reglstratlon of the trademark Pycnogenol rn
1990, and rn May 1993, the Unlted States Patent and
Trademark Offlce granted Horphag reglstratlon number
1,769,633. Horphag has not authorlzed any other

lndlvldual or entlty to use lts mark

Defendant Larry Garcla has used the Internet site
"healthlerllfe.com," among others, to advertlse and sell
varlous health alds, lncludlng Pycnogenol Mr Garcla
has not dlstrlbuted products manufactured by Horphag
slnce February 1999, but, Mr Garcla asserts, he now
sells a product derlved from grape plt seeds Whlch
competes wlth Horphag's prne bark based supplement Mr

Garcla repeatedly used Horphag‘s trademark “PycnogenolH

 

1 The background facts are substantlally slmllar to
those appearlng rn the Court‘s July 24, 2000 Order
grantlng rn part and denylng rn part Defendant‘s Motron

or Summary Judgment and the July 29, 2003 Oplnlon lssued
by the Nlnth Clrcult

 

 

Case 5:00-Cv-00372-VAP-I\/|LG Document 354 Filed 01/22/04 Page 3 of 25 Page |D #:147

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as a "metatag,"2 allegedly ln order to compare hls

product to Horphag's

0n June 18, 1999, Horphag flled an actlon agalnst Mr
Garcla alleglng trademark lnfrlngement, false deslgnatlon
of orlgln, and trademark drlutlon under federal law, as
well as trademark drlutlon and unfarr competltlon under
Callfornla law The Court granted summary judgment ln
favor of Mr Garcla on the clalm of false deslgnatlon of
orlgln only [July 24, 2000 Order ] A jury trlal was
held on the remalnlng claims from July 24 through 27,
2001.

On duly 27, 2001, after both sldes rested thelr
respective cases and before the CaSe was submltted to the
jury, thls Court granted Horphag‘s motlon for judgment as
a matter of law under Federal Rule of Clvll Procedure
50(a) The Court held that Mr Garcia lnfrlnged and
unlawfully dlluted Horphag's trademark, Pycnogenol
Judgment was entered rn Horphag's favor on August 28,

2001. 0n August 15, 2001, Mr Garcla flled a motlon for

 

2 A metatag rs used by Internet search englnes (such
as Google.com and Yahoo.com) as an lndexlng tool to
determlne whlch websltes correspond to the search terms
provlded by a user Mr Garcla objects to the Court's
conslderatlon of metatags ln the context of thls Motlon
because, he argues, the metatags rn hrs websrtes are only
relevant to the clalm of trademark lnfrln ement [§e§
Opp'n at 13 14-22 ] Horphag has argued, owever, that
Mr Garcla's use of the metatags contrlbuted to the
trademark‘s dllutlon [§ee Mot at 15 13-24~5 ] They
are therefore relevant

 

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0-cv-00372-VAP-|\/|LG Document 354 Filed 01/22/04 Page 4 of 25 Page |D #:148

reconslderatlon under Federal Rule of Clvll Procedure
59(e). The Court denled the motlon on September 14,
2001 0n January 4, 2002, the Court awarded attorneys'
fees to Horphag.

Mr Garcla appealed the judgment as a matter of law
and also challenged the award of attorney's fees 0n
July 29, 2003, the Nlnth Clrcult Court of Appeals lssued
an amended oplnlon afflrmlng thls Court's judgment rn
favor of Horphag, "except with respect to the trademark
dllutron clalm " Horphag Research, Ltd v Garcla, 337
F 3d 1036, 1042 (9th Clr 2003) The appeals court
vacated the judgment on trademark drlution and remanded
to thls Court for reconslderatlon of that clalm rn llght
of Moseley v V Secret Cataloquel Inc , 537 U S 418
(2003). ;Q_ Thls Court was further dlrected to
reconslder the portlon of lts attorneys' fees analysls

related to the dllutlon clalm ld 3

On November 24, 2003, Horphag flled a "Motlon for
Summary Judgment and Reconslderatlon of lts Clalm for
Trademark Dllutlon and Relnstatement of Attorneys' Fees
Correspondlng to rts Dllutlon Clalm" ("Mot ") On

December 8, 2003, Mr. Garcla flled an Opposltlon

 

3 Mr Garcla flled a petltlon for a ert of
Certlorarl to the Unlted States Supreme Court on November
20, 2003. The petltlon was denled on January 12, 2004
See Garcla v Horphaq Research, Ltd , No 03-773, 2004 WL
46767 (Jan 12, 2004l

 

 

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("Opp'n). 0n December 11, 2003, Horphag filed a Reply
(n Replyn)

II. ORDER TO RECONSIDER

A. ISSUE BEFORE THE COURT

On remand, only Horphag‘s federal trademark dilution
claim and the reinstatement of the corresponding
attorneys' fees are before the Court Horphag, 337 F 3d
at 1041. The Ninth Circuit affirmed the Court's judgment
in favor of Horphag on its federal trademark infringement
claim, as well as the California trademark dilution and
unfair competition claims ldd at 1042 The Ninth
Circuit vacated only the federal trademark dilution claim
and remanded it "for reconsideration in light of the
Supreme Court's recent decision in Moseley," which
"expanded on the requirements for a trademark dilution
claim under the Federal Trademark Dilution Act " ld_ at

1041

A federal trademark dilution claim arises under the
Federal Trademark Dilution Act ("PTDA"), 15 U S C §

1125, which provides in relevant part.

The owner of a famous mark shall be entitled,
sub ect to the rinciples of equity and upon

suc terms as t e court deems reasonable, to an
injunction against another person's commercial
use in commerce of a mark or trade name, if such

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Case 5:00-cv-00372-VAP-I\/|LG Document 354 Filed 01/22/04 Page 6 of 25 Page |D #:150

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use begins after the mark has become famous and
causes dilution of the distinctive quality of
the mark, and to obtain such other relief as is
provided in this subsection

15 U.S C § 1125(0)(1)
Prior to Moseley, the Ninth Circuit set forth the

elements of a claim for trademark dilution in Avery

Dennison CorD v Sumpton, 189 F 3d 868 (9th Cir 1999)

 

"[I]njunctive relief is available under the Federal
Trademark Dilution Act if a plaintiff can establish that
(1) its mark is famous, (2) the defendant is making
commercial use of the mark in commerce, (3) the
defendant's use began after the plaintiff's mark became

famous; and (4) the defendant's use presents a likelihood

of dilution of the distinctive value of the mark " Avery
Dennison, 189 F 3d at 873-74 (emphasis added) (citing

Panavision Int'l, L P v Toeppen, 141 F 3d 1316, 1324
(9th Cir 1998))

In Moseley, the Supreme Court resolved a spilt
amongst the Circuits and concluded that a showing of
“actual dilution, rather than a likelihood of dilution,“
is required for the owner of a famous mark to be entitled
to injunctive relief 537 U 8 at 433 The Court's
interpretation of the statute did not disturb the first

three elements of a trademark dilution claim as set forth

in Avery Dennison

 

Case 5:00-cv-00372-VAP-I\/|LG Document 354 Filed 01/22/04 Page 7 of 25 Page |D #:151

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After presentation of the evidence by the parties,
this Court granted Horphag's motion for judgment as a
matter of law under Federal Rule of Civil Procedure 50 on
Horphag's federal trademark dilution claim after finding
that each of the four Avery Dennison elements had been
satisfied and that a reasonable trier of fact could not
find for Mr Garcia on this claim

This Court further finds that Horpha 's
registered U 8 Pycnogenol® trademar is a
famous trademark within the nutritional
su§plement field Defendant has made ubiquitous
an pervasive commercial use of Horphag's

re istered U 8 trademark Pycno eno ® on

de endant's websites that provi e information
about nutritional sup lements and/or offer for
sale other products t at do not contain
Horphag‘s Pycnogenol® product These
ubiquitous and pervasive uses commenced after
the P§cnogenol® trademark became famous, and
have iluted the distinctive quality of
Horphag's registered U S tra emark Pycnogenol®
b diminishin the capacity of the trademark to
identif and distinguish Horphag's goods from
those o another

[Aug 28, 2001 Judgment 1 4 1 The Ninth Circuit vacated
the judgment and remanded for reconsideration in light of

Moseley Horphag, 337 F 3d at 1041.

Moseley did not alter the first three Avery Dennison
elements and, therefore, the Court's reconsideration of
its judgment in light of Moseley, as ordered by the Ninth
Circuit, does not require a re»examination of the
evidence in support of those elements In deciding this

Motion and reconsidering its judgment on Plaintiff‘s Rule

 

Case 5:00-cv-00372-VAP-I\/|LG Document 354 Filed 01/22/04 Page 8 of 25 Page |D #:152

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50 Motion, the Court proceeds directly to the fourth

element, actual dilution

B. LEGAL STANDARD

Plaintiff moves for summary judgment and
reconsideration of its trademark dilution claim [Mot
at 1 1-5 ] Though the posture is somewhat different, a
district court must apply equivalent standards in ruling
on motions for summary judgment and motions for judgment

as a matter of law

Rule 56(c) of the Federal Rules of Civil Procedure
provides that summary judgment "shall be rendered
forthwith if the pleadings, depositions, answers to
interrogatories, and admissions on file, together with
the affidavits, if any, show that there is no genuine
issue as to any material fact and that the moving party
is entitled to a judgment as a matter of law " This
standard mirrors the standard for judgement as a matter
of law under Federal Rule of Civil Procedure 50(a), which
is that "the trial judge must direct a verdict if, under
the governing law, there can be but one reasonable
conclusion as to the verdict " Anderson, 477 U 8 at 250
(citing Bradv v Southern R Co., 320 U S 476, 479~480
(1943)) Stated in the negative, neither summary

judgment nor judgment as a matter of law will lie if the

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Case 5:00-cv-00372-VAP-I\/|LG Document 354 Filed 01/22/04 Page 9 of 25 Page |D #:153

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evidence is such that a reasonable jury could return a

verdict for the nonmoving party. Id at 248~50

ln ruling on either motion, a district court is not
free to weigh the parties' evidence or to pass on the
credibility of witnesses or to substitute its judgment of
the facts for that of the jury. Reeves v Sanderson
Plumbing_Products. lnc., 530 U.S. 133, 150 (2000)
(considering the "analogous" contexts of Rule 50 and Rule
56 motions and concluding that in both cases "the court
must draw all reasonable inferences in favor of the
nonmoving party, and it may not make credibility
determinations or weigh the evidence") "lt is the jury,
not the court, which . weighs the contradictory
evidence and inferences, judges the credibility of
witnesses, receives expert instructions, and draws the
ultimate conclusion as to the facts. Courts are
not free to reweigh the evidence and set aside the jury
verdict merely because the jury could have drawn
different inferences or conclusions or because judges
feel that other results are more reasonable “ Tennant v
Peoria & P U RV., 321 U 8 29, 35 (1944), Anderson, 477
U S. at 255

If Plaintiff's Motion is construed as a motion for
reconsideration of its earlier motion for judgment as a

matter of law, then the Court's analysis would be limited

 

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0-cv-00372-VAP-|\/|LG Document 354 Filed 01/22/04 Page 10 of 25 Page |D #:154

to the evidence presented at trial This, however, would
deny the parties the opportunity to offer evidence in
support of the element of actual dilution as defined in
Moseley Therefore, the Court must construe Plaintiff's
Motion as a motion for summary judgment on the sole issue

of actual dilution

A motion for summary judgment shall be granted when
“there is no genuine issue as to any material fact” and
“the moving party is entitled to judgment as a matter of
law.” Fed R. Civ. P. 56(c), Anderson v. Liberty,Lobby,
lng;, 477 U S 242, 247-48 (1986) The moving party must
show that “under the governing law, there can be but one
reasonable conclusion as to the verdict ” Anderson, 477

U.S at 250.

Generally, the burden is on the moving party to
demonstrate that it is entitled to summary judgment
Margolis v ayan, 140 F 3a 850, 852 (9th cir 1998),
Retail Clerks Union Local 648 v. Hub Pharmacv, lnc , 707
F 2d 1030, 1033 (9th Cir 1983) The moving party bears
the initial burden of identifying the elements of the
claim and evidence that it believes demonstrates the

absence of an issue of material fact Celotex Corp_ v

 

Catrett, 477 U S 317, 323 (1986)

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Case 5:0f)-cv-00372-VAP-|\/|LG Document 354 Filed 01/22/04 Page 11 of 25 Page |D #:155

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A genuine issue of material fact will exist “if the
evidence is such that a reasonable jury could return a
verdict for the non-moving party ” Anderson, 477 U 8 at
248. ln ruling on a motion for summary judgment, the
Court construes the evidence in the light most favorable
to the non-moving party. Barlow v Ground, 943 F 2d

1132, 1135 (9th Cir 1991), T.W EleC Serv lnc v

 

Pacific Elec Contractors Ass’n, 809 F 2d 626, 630-31
(9th Clr. 1987)

C. ACTUAL DILUTION

l. Uncontroverted Facts

In reviewing the evidence presented to the jury in
the July, 2001 trial, as well as additional evidence
presented by the parties in the form of declarations, the
Court finds the following facts to be uncontroverted and

relevant to the issue of actual dilution 4

Mr. Garcia's infringement of Horphag‘s trademark
resulted from Mr Garcia's use of the word "Pycnogenol,"
which is identical to Horphag's registered trademark

Pycnogenol®, as metatags on Internet websites owned,

 

4 The Court declines to adopt as uncontroverted
Horphag‘s proposed facts 1 through 11 because they are
not re evant to the issue of actual dilution and,
consequently, the Court need not rule on Mr. Garcia's
objections to those proposed facts [§e§ Plaintiff‘s
Statement of Uncontroverted Facts ("Pl.is Facts") 14 1-
11; Defendant's Response to Plaintiff's Statement of
Uncontroverted Facts and Statement of Genuine lssues of
Material seats ("Def.'s Facts") 44 i-ii, 24, 26 ]

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J-CV-00372-VAP-|\/|LG Document 354 Filed 01/22/04 Page 12 of 25 Page |D #:156

operated, managed, or otherwise affiliated with Mr
Garcia [Aug 28, 2001 Judgment 1 2, aff'd, Horphag, 337
F.ad at 1042] 5

Mr Garcia is an entrepreneur who used Horphag's
registered trademark, "Pycnogenol," as a metatag on his
websites, and textually within his websites, to lure
Internet users interested in Horphag's product to his
websites where he offers for sale his own competing
products [Aug 28, 2001 Judgment 1 4; Declaration of
Clyde A. Shuman ("Shuman Decl ") Ex 8 (trial tr ) at
131 13-16, Ex 7 (trial tr ) at 123.13-17 ] These
metatags are analogous to misleading or deceptive
billboards or road signs which lead customers interested
in Horphag's Pycnogenol® to websites not associated with
Pycnogenol® [Shuman Decl. Ex 13 (trial tr ) at 277 14-
21; EX 15 (trial tr ) at 129 6-13 (“Q Now, if a

 

customer wanted to purchase Horphag's Pycnogenol product
and he ended up at one of your websites where you sell

the competing product, the customer would be looking at

 

5 Mr Garcia's relevance objections to these facts
are overruled [§§Q Def 's Facts 11 12~13 ] As
discussed below, the identity of the word used by Mr
Garcia to Horphag's registered trademark Pycnogenol® is
relevant to t e question of actual dilution. Mr Garcia
disputes the fact by citing the Court's July 24, 2000
0rder denying summary judgment on the trademark
infringement claim [§ee Opp'n at 13 26-14 2 ] This
Order, however, was followed by a trial and a subsequent
order granting Horphag judgment as a matter of law, The
Court's finding of a genuine issue of material fact at
that earlier stage has no bearing on this Motion

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Case 5:00-cv-00372-VAP-I\/|LG Document 354 Filed 01/22/04 Page 13 of 25 Page |D #:157

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the wrong website, wouldn't he, if he wanted Horphag's
Pycnogenol product7 A [Mr Garcia] He will be looking

at the wrong website ") ]

When a search for “Pycnogenol“ is conducted through
an Internet search engine, Mr Garcia's websites appear
at the top of the list of search results because he has
used “Pycnogenol“ metatags and references within the
websites to "Pycnogenol" to give weight to his websites
in such a search. [ld_ Ex 9 (trial tr ) at 293 10-19,
Ex. 10 (trial tr ) at 297 19~299 1 ] “Pycnogenol“
appears frequently in Mr Garcia*s websites to give more
weight to the metatags in a search. [ld_ Ex. 14 (trial
tr ) at 294 8-23 1

Mr. Garcia's websites lure visitors through metatags
and the use of the trademark “Pycnogenol “ [ld, Ex 16
(trial tr.) at 48.1»12.] A visitor looking for Horphag's
Pycnogenol® may end up on one of Mr. Garcia's websites
where there is confusing and contradictory information
about the two products [;d_, Ex. 18 (trial tr ) at
53 6~12.] 8cientific evidence relating to Pycnogenol® is
presented in relation to competing products that are not
Pycnogenol® [ld_ Ex 16 (trial tr ) at 48 1-12 ] For
instance, on one of Mr Garcia's websites,
"healthierlife com," there appears a quote by Dr Richard

Passwater which has been altered. [ld Ex 6 (trial tr )

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D-CV-00372-VAP-|\/|LG Document 354 Filed 01/22/04 Page 14 of 25 Page |D #:158

at 238-239 ] The original begins, "Pycnogenol has not
only withstood the test of time " [ld_ at 239 1-
2.] Mr. Garcia altered the quote so that the following
appeared on heathierlife.com: "Masquelier‘s Pycnogenol
has not only withstood the test of time " lld_ at
239:1~7.] Dr Passwater's book, from which the quote is
taken, states that he is referring to Horphag's product,
Pycnogenol® [ld_ at 239 15-18 ] Mr Garcia's website
does not acknowledge that the quotation has been altered

[ld_ 239'19-24 ]

Horphag is concerned that the name "Pycnogenol'l may

become generic. [Id Ex 17 (trial tr ) at 58 17-22 ]

 

Horphag has made efforts to ensure that customers
identify the trademark Pycnogenol® with the product
[ia at 58 23-59 i 1

The overall effect of Mr. Garcia's websites on
Horphag's Pycnogenol market in the United States has been
"very damaging to the trust [Horphag] created in the
market, to the value that lHorphag] had in [its]
trademark, to the goodwill that [Horphag] had from the
American public. lt put doubt on the science that
[Horphag was] providing the public with lt was
distracting and influencing [Horphag's] relations with

[its] customers And at the end of the day, the whole

 

thing cost [Horphag] sales " lld4 Ex 19 (trial tr ) at

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3-CV-00372-VAP-|\/|LG Document 354 Filed 01/22/04 Page 15 of 25 Page |D #:159

94 2-13 ]5 Horphag has presented no survey evidence

demonstrating this impact on consumers

2. Analysis

Horphag argues that its Motion should be granted
because the "[u]ncontroverted trial testimony established
that customers using the lnternet to search for
PYCNOGENOL were unable to distinguish between Garcia's
use and Horphag's use of Pycnogenol® which
negatively impacts on the value of Horphag's Pycnogenol®
trademark either through tarnishment of Horphag's
trademark or by blurring the distinction between Garcia's

use of the mark and his goods and Horphag‘s Pycnogenol®

trademark " [Pl 's Facts 1 15 ] This establishes
"actual dilution" under Moseley, Horphag argues, because
direct evidence of dilution is not necessary where, as

here, the junior and senior marks are identical [Mot

at 3 19-4 3, Pl.'s Facts 1 F ] Mr Garcia disagrees with
this interpretation of Moseley [§ee Opp'n at 6 13-
7~15]

 

5 The Court declines to adopt Horphag‘s proposed
facts 14 and 16 because these contain the le al
conclusion that the Ninth Circuit has ordere this Court
to reconsider in light of Moseley The Court therefore
need not rule of Mr. Garcia's objections to these
proposed facts

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In Moseley, the Supreme Court interpreted the FTDA to
require “actual dilution “ 537 U 8 at 433 The Court
explained, however‘

0f course, that does not mean that the
conse uences of dilution, such as an actual loss
of sa es or rofits, must also be proved.
[A]t least w ere the marks at issue are not
identical, the mere fact that consumers mentally
associate the junior user's mark with a famous
mark is not sufficient to establish actionable
dilution . [S]uch mental association will
not necessarily reduce the capacity of the

famous mark to identify the goods of its owner,

the statutory requirement for dilution under the

FTDA. "Blurring" is not a necessary

consequence of mental association (Nor, for

that matter, is "tarnishing ")

Moseley, 537 U 8. at 433-34

ln reaching this interpretation of the FTDA, the
Court considered the stated purpose of the bill that was
before the Subcommittee on Courts and Intellectual
Property of the House Judiciary Committee in 1995 "to
protect famous trademarks from subsequent uses that blur
the distinctiveness of the mark or tarnish or disparage
it, even in the absence of a likelihood of confusion "
ld* at 431 (citing H R. Rep No. 104-374 at 2 (1995),
U S Code Cong & Admin News 1995 at 1029~30)

The Moseley Court concluded that though the opening
of a store named llVictor's Secret" likely led customers
to make a mental association with the famous trademark
"Victoria's 8ecret," there was a "complete absence of

evidence of any lessening of the capacity of the

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Case 5:0

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D-CV-00372-VAP-|\/|LG Document 354 Filed 01/22/04 Page 17 of 25 Page |D #:161

VICTORIA'S SECRET mark to identify and distinguish goods
or services sold in Victoria‘s Secret stores or
advertised in its catalogs " ld_ at 434 The Court also
noted that the expert retained by Victoria's Secret had
not commented on the impact of the use of Victor’s Secret

on the strength of the Victoria's Secret mark ld

The Court concluded by acknowledging the concern
expressed by the amici that consumer surveys and other
means of demonstrating actual dilution may be expensive,
unreliable, and difficult to obtain ld_ lt observed
that "[i]t may well be, however, that direct evidence of
dilution such as consumer surveys will not be necessary
if actual dilution can reliably be proved through
circumstantial evidence _ the obvious case is one where

the junior and senior marks are identical " Id

The new Moseley standard was recently applied in
Playboy Enters.l lnc v Netscape Comms Corp_, Nos 00~
56648, 00~56662, 2004 WL 57738 (9th Cir Jan 14, 2004)

 

There, with respect to blurring, the plaintiff introduced
evidence suggesting that a significant number of Internet
users assume that advertisements are sponsored or somehow
affiliated with the plaintiff after a search using the
plaintiff's trademarked terms Playboy, 2004 WL 57738,
at *9 with respect to tarnishing, the plaintiffs

introduced evidence tending to show that consumers

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Case 5:00-cv-00372-VAP-I\/|LG Document 354 Filed 01/22/04 Page 18 of 25 Page |D #:162

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consider the materials in the banner ads to be inferior
to the materials offered by the plaintiffs and that
consumers are confused regarding sponsorship of the
banner ads ld; Defendants did not counter the evidence
as to either blurring or tarnishing ld_ The Ninth
Circuit held that this evidence was insufficient to
establish actual dilution in the summary judgement

context. Id at *10

Horphag argues that Mr Garcia has blurred the
distinctiveness of, as well as tarnished, Horphag's
Pycnogenol trademark. [Mot at 24 3-6 ] Horphag argues
that the Pycnogenol mark has been tarnished by the use of
the mark to refer to products other than Horphag‘s
Though there is evidence that the Competing products
contained different ingredients, Horphag has not
presented any evidence that a consumer's use of Mr
Garcia's product leaves him with a lesser opinion of
Pycnogenol® than he would otherwise have had. There
remains a genuine issue of material fact as to whether
the Pycnogenol mark has been tarnished through Mr

Garcia's use of the mark

Horphag next argues that blurring has been
established in two ways First, Mr Garcia's use of
“Pycnogenol“ metatags in his websites lures Internet

users interested in Horphag's product to Mr Garcia‘s

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CaS€ 5200-CV-00372-VAP-|\/|LG DOCument 354 Filed 01/22/04 Page 19 Of 25 Page |D #:163

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websites where he offers competing products for sale
Though this may cause some "initial interest confusion,"
Mr. Garcia‘s use of metatags does not alone establish
that the distinctiveness of the Pycnogenol mark is
diminished through this luring Though previously
unaware consumers may be informed of the availability of
competing products, this does not in itself indicate that
the value of the trademark has been reduced At worst,
consumers may wrongly assume that Mr Garcia's websites
are somehow affiliated with Horphag's Pycnogenol. As
noted in Playboy, this is not sufficient to establish
actual dilution under Moseley at the summary judgment
stage Playboy, 2004 WL 57738, at *9

Second, Horphag argues that blurring is established
through Mr. Garcia's use of the term "Pycnogenol" to
describe products other than Horphag‘s and by his
presentation of scientific evidence relating to Horphag's
Pycnogenol® in support of competing products These

facts, considered in the context of Mr Garcia's use of

"Pycnogenol" metatags, establish actual dilution through
blurring

lnternet users searching for information on
Pycnogenol® are lured onto Mr Garcia's websites Once

there, the users are confronted with confusing and

contradictory information about the two products. For

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Case 5:0

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3-CV-00372-VAP-|\/|LG Document 354 Filed 01/22/04 Page 20 of 25 Page |D #:164

instance, on one of Mr Garcia's websites,
“healthierlife com,“ there appears a quote by Dr
Passwater which has been altered The original begins,
"Pycnogenol has not only withstood the test of time

“ Mr Garcia altered the quote so that the following
appeared on heathierlife com' "Masquelier‘s Pycnogenol
has not only withstood the test of time ." Dr.
Passwater‘s book, from which the quote is taken, states
that the research refers to Horphag's product,
Pycnogenol®. Mr. Garcia's website does not acknowledge
that the quotation has been altered ln this way, Mr

Garcia has misled consumers to associate the term

“Pycnogenol" with both Horphag's and Mr Garcia's
products
Mr Garcia repeatedly emphasizes the language in

Moseley suggesting that consumers' mental association of
the junior user's mark with the famous mark is not
sufficient to establish actual dilution [Opp’n at 6 15-

7 15 ] This case, however, is distinguishable from

Moseley In Moseley, customers associated a store named
"Victor's Secret" with the famous name "Victoria's
Secret " 537 U 8. at 434. The Court found that dilution

had not been established because there was no evidence
"of any lessening of the capacity of the VICTORIA'S
SECRET mark to identify and distinguish goods or services

sold in Victoria's Secret stores " Id

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Case 5:0

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0-cV-00372-VAP-I\/|LG Document 354 Filed 01/22/04 Page 21 of 25 Page |D #:165

Such a gap in the evidence does not exist in this
case The use of the identical term "Pycnogenol" leads
consumers not only to associate the "true‘1 Pycnogenol
with Mr. Garcia’s product, but also leads them to use the
same name to refer to both products Horphag's concern
that the name "Pycnogenol‘l may become generic has become
a reality through Mr Garcia's insistence that the name
not only refers to Horphag‘s product but to his product
as well. Mr Garcia has brought about a "lessening of
the capacity of the [Pycnogenol] mark to identify and
distinguish" Horphag's product Moseleyr 537 U 8 at
434 7 The Moseley Court foresaw this different result
when it observed that when the junior and senior marks
are identical, consumer surveys may not be necessary to

establish that actual dilution has occurred. ld

lnternet users lured onto Mr Garcia's websites

through "Pycnogenol" metatags, must leave with a less

 

7 Mr Garcia claims that "Hor ha 's trademark is
blurred in the American research oo s and consequentl
in the United 8tates marketplace" and that "none of this
blurring [is] attributable to Garcia " [Opp'n at 11 9-12
(emphasis in original) ] In other words, Mr Garcia
argues that he cannot be liable for trademark dilution
because the mark was diluted before he used it ln this
vein, Mr Garcia also argues that Horphag improperly
obtained registration in the United States for
Pycnogenol, forcing the makers of the "original
Pycnogenol" to register a different trademark for their
product. [Garcia Decl 11 4, 5 ] These, however, are
attacks against the first Avery Dennison element of
“famousness " As explained above, the Court’s previous
ruling as to this element was not disturbed by the
appel ate court and need not be reconsidered

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Case 5:0

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')-cV-00372-VAP-I\/|LG Document 354 Filed 01/22/04 Page 22 of 25 Page |D #:166

clear understanding than when they entered of what the
"Pycnogenol" name refers to Mr Garcia has reduced
Horphag's control over the unique association between the
Pycnogenol mark and product 3 Thusr Plaintiff has
established blurring, and Horphag's evidence that this
blurring has cost it sales is uncontroverted 9 No
reasonable factfinder could find that there has been no

actual dilution

D . AFFIRMATIVE DEFENSES

Mr Garcia suggests that the Motion should be denied
because he has presented evidence in support of a
“comparative advertising“ affirmative defense ldcs
Opp'n at 5.15-19, 8 9-27 ] See also, Mattel, Inc v MCA
Recordsc Inc , 296 F 3d 894, 904 (9th Cir. 2002)

(recognizing "comparative advertising" and "noncommercial

 

3 Justice Kennedy pointed out in his concurring
opinion that the victim of trademark dilution need not
wait until the harm is complete because the "essential
role of injunctive relief is to 'prevent future wrong '"
Moseley, 537 U 8. at 436 (Kennedy, J., concurring) "lf
a mark will erode or lessen the power of the famous mark
to give customers the assurance of quality and the full
satisfaction they have in knowing they have purchased
goods bearin the famous mark, t e elements of dilution
may be estab ished " ld$

9 Mr. Garcia refers to this evidence as "bald
accusations“ but does not offer any evidence in rebuttal
[Opp'n at 13:13 ] Mr. Garcia comp ains that "Horphag put
on no testimony from consumers or survey evidence." Such
evidence, however, is not necessarily required where the
junior and senior marks are identica , as they are in
this case §ee Mosele , 537 U 8. at 434 Mr Garcia
does not controvert a 1act by merely labeling the
supporting evidence "bald "

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Case 5:0

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3-CV-00372-VAP-|\/|LG Document 354 Filed 01/22/04 Page 23 of 25 Page |D #:167

use“ affirmative defenses under the FTDA). The Moseley
opinion, however, does not alter the existing law as to
these affirmative defenses and, therefore, the Court's
previous ruling as to the absence of any affirmative
defense was not disturbed by the Ninth Circuit's vacation

of the judgment

Furthermore, the Ninth Circuit affirmed the Court‘s
ruling on the absence of an affirmative defense as to
Plaintiff‘s trademark infringement claim see Horphag,
337 F 3d at 1041. lt acknowledged the availability of a
defense where a defendant refers to a particular product
"for purposes of comparison, criticism, [or] point of
reference “ ld_ The Court found, however, that Mr
Garcia could not meet an essential criterium of the
defense, namely, that “the user must do nothing that
would, in conjunction with the mark, suggest sponsorship
or endorsement by the trademark holder " ldi (citing New
Kids of the Block v News Am Publ'g, lnc., 971 F 2d at
308 (9th Cir. 1992)). The Court found that "Garcia's

references to Pycnogenol spawn confusion as to

 

sponsorship and attempt to appropriate the cachet of the
trademark Pycnogenol to his product.“ ld_ As the law of
the case, this also bars any attempt to defeat
Plaintiff's trademark dilution claim through a
"comparative advertising" affirmative defense §e§ Qld

Person v. Brown, 312 F 3d 1036, 1039 (9th Cir 2002)

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("Under the '1aw of the case' doctrine, a court is
ordinarily precluded from reexamining an issue previously
decided by the same court, or a higher court, in the same
case.") (quoting Richardson v. United 8tates, 841 F 2d
993, 996 (9th Cir 1988))

Mr Garcia also attempts to bring before the Court
the issue of comity and collateral estoppel as to a
decision by a French court involving Horphag and the
Pycnogenol trademark. [§ee Opp'n at 14 4-27, Declaration
of Larry Garcia (“Garcia Decl.“) Ex 14.] This Court
found the French court‘s decision inadmissible in its
duly 24, 2001 Order Re. Admissibility of New Proposed
Trial Exhibits Mr Garcia acknowledges that he raised
the issue again on appeal but the Ninth Circuit did not
grant any relief based on this argument [§ee 0pp‘n at
14~5.] The Court need not reconsider its previous ruling
and furthermore finds that the issue is not relevant to

this Motion

E. ATTORNEYS' FEES

80 that it may review all requests for attorneys'
fees and issue one complete order, the Court defers
ruling on the reinstatement of its August 29, 2001 award
of attorneys' fees until after consideration of any
supplemental motion for attorneys‘ fees following this

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Case 5:00-cv-00372-VAP-I\/|LG Document 354 Filed 01/22/04 Page 25 of 25 Page |D #:169

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III . CONCLUSION
For the foregoing reasons, the Court finds that
Horphag has established the element of actual dilution
necessary to a trademark dilution claim and that there
remain no genuine issues of material fact Horphag's

Motion for Summary Judgment is GRANTED

IT IS SO ORDERED.

Dated- `J@NWWTT\TOOL} /V/V"ani,» & m""h'\z
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Un ted States District Judge

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